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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
– – – – – – – – – – – –– – – – X

UNITED STATES OF AMERICA

        - against -                                    19 CR 188 (KAM)

FRANK SEGUI,

                          Defendant.

– – – – – – – – – – – –– – – – X

                      SUPPLEMENTAL LIST OF NAMES AND PLACES

              At the December 3, 2019 Pretrial Conference, the Court ordered the parties to

provide any supplemental voir dire requests. The government writes only to provide three

additional names and places:

       1.     Prosecution

              (a)      Saritha Komatireddy (Assistant U.S. Attorney)

       2.     Potential Witnesses and Other Individuals Who May Be Mentioned at Trial

              (a)      FBI Special Agent George Lane

       3.     Places

              (a)      University at Buffalo
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Dated: Brooklyn, New York
       December 3, 2019


                                           Respectfully submitted,

                                           RICHARD P. DONOGHUE
                                           United States Attorney
                                           Eastern District of New York

                                     By:   /s/ Andrew D. Grubin
                                           Andrew D. Grubin
                                           Assistant U.S. Attorney
                                           (718) 254-6322

cc: Kannan Sundaram, Esq. (by ECF)




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